
Sal Medical, P.C. and NY OSTEOPATHIC, P.C., as Assignees of YANA SIMONYAN, Respondents,
againstPraetorian Insurance Company, Appellant.



Appeal from an order of the Civil Court of the City of New York, Kings County (Harriet L. Thompson, J.), entered June 21, 2013. The order, insofar as appealed from and as limited by the brief, denied the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover upon a claim in the sum of $3,551.02 for services rendered on July 23, 2008 and upon claims for services rendered from March 24, 2009 to April 23, 2009.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover upon a claim in the sum of $3,551.02 for
services rendered on July 23, 2008 and upon claims for services rendered from March 24, 2009 to April 23, 2009, are granted.
In this action by providers to recover assigned first-party no-fault benefits, plaintiffs moved for summary judgment, and defendant cross-moved for summary judgment dismissing the complaint on various grounds, including lack of medical necessity. As to so much of the complaint as sought to recover upon a claim in the sum of $3,551.02 for services rendered on July 23, 2008 and upon claims for services rendered from March 24, 2009 to April 23, 2009, the Civil Court, by order entered June 21, 2013, denied both the motion and the cross motion, but limited the issues for trial to the medical necessity of those claims (see CPLR 3212 [g]). As limited by its brief, defendant appeals from so much of the Civil Court's order as denied the branches of its cross motion seeking summary judgment dismissing those claims.
For the reasons stated in AL Acupuncture, P.C., as Assignee of Yana Simonyan v Praetorian Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-2432 K C], decided herewith), the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover upon a claim in the sum of $3,551.02 for services rendered on July 23, 2008 and upon claims for services rendered from March 24, 2009 to April 23, 2009 are granted.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 13, 2016










